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                                   4                                 UNITED STATES DISTRICT COURT
                                   5                           NORTHERN DISTRICT OF CALIFORNIA
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                                         ESTATE OF RAFAEL RAMIREZ
                                   7     LARA, and others,                              Case No. 21-cv-02409 PJH (NC)
                                   8                   Plaintiffs,
                                                                                        ORDER UPDATING STATUS OF
                                   9             v.                                     DISCOVERY DISPUTE REFERRED
                                                                                        AT ECF 52
                                  10     MONTEREY COUNTY, WELLPATH,
                                         and others,
                                  11
                                                       Defendants.
                                  12
Northern District of California
 United States District Court




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                                  14          Presented to the Court is a discovery dispute in which the Lara Plaintiffs request
                                  15   access to the systemic information from an earlier settled class action against the same jail,
                                  16   Hernandez v. Monterey County, N.D. Cal. Case No. 13-cv-2354 BLF, including neutral
                                  17   monitor reports, assessments, audit reports, and corrective action plans. Judge Hamilton
                                  18   referred this discovery dispute to me with the express objective of seeking consensus.
                                  19   ECF 52. I held a discovery conference on January 5, 2022. ECF 59. The parties did not
                                  20   reach agreement at the conference, so I asked them to file proposed orders that would help
                                  21   me to suggest areas of agreement. The proposed orders are filed at ECF 60 (Defendants);
                                  22   ECF 61 (Hernandez plaintiffs); and ECF 62 (Lara plaintiffs). I then issued a proposed
                                  23   order with proposed discovery parameters to resolve the dispute. ECF 69. The parties did
                                  24   not all agree to my proposal, so no consensus has been reached. ECF 70 (Defendants’
                                  25   response); ECF 71 (Lara Plaintiffs’ response).
                                  26          Mindful that the fact discovery cut-off in this case is March 31, 2022, I return the
                                  27   referred discovery dispute to Judge Hamilton. Unfortunately, the parties have not reached
                                  28   agreement on Plaintiffs’ request for systemic information from the Hernandez case.
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                                   1     IT IS SO ORDERED.
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                                   3     Dated: February 8, 2022       _____________________________________
                                                                             NATHANAEL M. COUSINS
                                   4                                         United States Magistrate Judge
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Northern District of California
 United States District Court




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